EXHIBIT 5

Student Declarations

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_DECLABATION OF
I, __, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

 

 

set forth herein.
2. I am a current student at Vi`ro-`n.`o` (pllpqe_, in limw.‘\l€ ,
l viz .(School, city, state)
3. lam enrolled inthe `El.¢_{_ lr.(ql -}e_c.&\
program

4. Upon graduation, l Will receive a D\`Elom§

 

5. I expect to complete my program in \2. rush fig

6. To pay for my education, I have utilized Fede:ral student aid programs,
including W rail omit rs
7. (.:fhave not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including

 

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8. If given the choice, l would choose to complete my degree at
College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. In addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

[Reminder of page intentionally left blank]

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I declare under penalty of perjury that the foregoing is true and correct

Dated: November l , 2018

 

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DECLARATION OF
I-__, hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.
2. l am a current Student at §llrglfll(L Ctllll gaf in MQ£[I[| ,

g g . (School, city, state)

3. lam enrolled in the Co$j}/|u l'ulo U]\Lj
program.

4. Upon graduation, l will receive a al ip|amg '

acvsmoh.)a'qg; l)rm_i_r .
S. I expect to complete my program in M{,Mgch |Q

Slc)l°i

6. To pay for my education, l have utilized Federal student aid programs,

including girls ii br § cl ira ina n __ .F_
/' "`1`;‘~\
7. I have/i@ WCircle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cV-00388-TES Document 28-5 Filed 11/14/18 Page 6 of 69

8. If given the choice, I would choose to complete my degree at

V'|[(_).'\[]}'Q College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarilyl

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I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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DECLARATION OF
I,__, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein I have personal knowledge of the matters
set forth herein.

2. I am a current student at _\_l_;vQT.r\ir.-l i\n,l\i~c\&i‘ in ll¢l&tan_ ,
x - .»;.: ` .(School, city, state)
3. lam enrolled in the ’D\\L'i,v pike r \J-\ jt LLl/U\i\ t"l ¢l vi
program

4. Upon gi'aduation, l will receive a Q_C,`\"l'l"li& (Lj\'l bn
§ § g _Q\\ ‘u‘.; i\_.\_.§..k ll L'\KT~=' §‘,ll\ l\\\@lflv_i___-

S. I expect to complete my program in |USOJ(‘/l§

6. To pay for my education, l have utilized Federal student aid programs,
including %l,t\s ';c_`i di rural sect iv ~.i<t=_;b st ltcl' least fifell lian .
7. I havei’liave nDCircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, includlng:

 

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S. If given the choice, l would choose to complete my degree at
lite ` College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, l would like add the following:
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\,-gctvcl Ji`. gij$< idea C\lilc\ts j \\G.ti,-{l l",lc$iiij l/l‘/
brine\ \ mild l\sc_ lull l`l_te` a image ia lutz ‘ é’.

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freel and voluntaril l

   

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I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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DECLARATION OF -
I, __, hereby declare and afflrrn the following:

1. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

1£ HM.T¢:'C‘“

2. l am a current student at écn&/imil-m./Ii * in ll/l..¢r’rl~€ ll"',“c"
l

 

5 C . (School, city, state)
3. lam enrolled in the écl;c' CchLeio OFWQ~HMS 4 ll/l-wag!iwm`]'
program.

4. Upon graduation, I will receive a /£l$c:cccict'l€:>

 

im £Qpliecl 'Bcslwsg

5. I expect to complete my program in [Z l ZO!F

 

6. 'I`o pay for my education, l have utilized Federal student aid programs,
including cell @wcu/LT . Sdl¢$-‘olc"-}c'¢l loans

7. .have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

rear f/ol;l:+i€§

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8. If given the choice, I would choose to complete my degree at

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écli' drdg¢z,{l ¢l*“‘{‘ College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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I declare under penalty of perjury that the foregoing is true and correct

Dated:November l ,2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 14 of 69

DECLARATION OF

   

, hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.
q
2. I am a current student at G-,Dl; gcn(;l¢r,u\t.\ in `{Yl-r(l,\a:;€§'\€l#\
C:>'::. \QN\-Q,\';r¢.d`

. ch...__
%o»lr\\ CG¢°\`. (School, city, state)

3. I am enrolled in the COv\/\I_`)l»ar» @t_ cs\ t_“' O§>¢‘ Gc-»/ c\. \n\c-.\»"-CL-‘='»_>G"“"'

 

 

 

program.
4. Upon graduation, I will receive a l§%SOCtOL\-<:;
GP‘I.-' ’{”¢.T`;i:\i.l,-c.\ §§ rca ~. wcc ag _
5. l expect to complete my program in t§-l”_/"i §.\
490 l‘:\
6. To pay for my education, I have utilized Federal student aid programs,

including Si\\oq\e\w_crl $.lc\cc\ts_,,§-c ioc,w\s.

7. I .have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 15 of 69

8. lf given the choice, l would choose to complete my degree at

    

QLQ\{ ld\C_ C‘i`l-`-a¢..\.-`\‘\-' College, as opposed to stopping my education and receiving a
@¥_ §VM\HL<u¢Jh`

discharge of my student loans.

9. ln addition, I would like add the following:

 

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 16 of 69

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 17 of 69

  

, hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

2. I arn a current student at gag &gdm! owwfih M,§§_\{_Mjg_,_§(_

. (School, city, state)

3. lam enrolled in the Coog£ § Bm¢g 15 E)?g._rcd]g)§ §§ indka

program

4. Upon graduation, l will receive a A§SOClG;lQ ®€
apgtré.d ess.ms;.

 

 

5. l expect to complete my program in
§§)rm) 'Zolo~ .
6. 'I`o pay for my education, I have utilized Federal student aid programs,

including §RLL §_;!`QA;(; ¢ ;SL)EJS;`CMLQL!»_LLAD.S__` - '
7..1ave not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

GLQ<'\¥ ._ \_rrnth\e$ I..e,i-Q »

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 18 of 69

3. If given the choice, l would choose to complete my degree at
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(§Q\i§ AC@’?§ O% College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. ln addition, I would like add the following:
U trt/umt- %‘~mnct‘rrt otle t irm:i) ooorr\st,t:tJ
d‘t') B-?f.»;;f`t\»`if\i c\ V\o otch {3(0{€ <.*Si"d\a;t l`vs_
ash tx V\Ctxn {- ' mci SC,{/\ec\l ?S ga.im§
l +t> .
r\l'\ mg ‘l'® KQ\S> S.E\ ~
10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

  

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I declare under penalty of perjury that the foregoing is true and correct.

Dated: Novern'ber l , 2018

 

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I, m hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I am a current student at |M»-:LMM UQQEQ€_EM§M

)€Z» .,(School eity, state)

3. Iamenrolled m the M fOHU/C/AA/
program
4. Upon graduation, 1 will receive a A/PZOQ/?

 

5. I expect to complete my program in 322/d QOZQ

 

6. To pay for my education, l have utilized Federal student aid programs,

including l/;g § pad QFQH/Jr
7. @mve not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 21 of 69

8. If given the choice, I would choose to complete my degree at

ME[A[[H_ College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the foilowing:

 

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it lieer and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 22 of 69

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November f , 2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 23 of 69

 

DECLARAT[ON_(LF
I, _____, hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein.-I have personal knowledge of the matters

set forth herein.

2. l am a current student at li`|[%]¢]a f!¢;|l@qg in ngg;g|a ,

EL» . (School, city, state)

3. lmenroue.din me _§CS,EAMN

 

 

program.
4. Upon graduation, l will receive a Aggm' 113
drawn
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_ 5. I expect to complete my program in _S¢P}_-_
Qoiq

 

6. To pay for my education, I have utilized Federal student aid programs,

including é'-l`¢;,l; \QM§ ;l`¢Hgf ll

7. l have@€ircle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

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8. If given the choice, I would choose to complete my degree at
§l`\tg`p\’§ College, as opposed to stopping my education and receiving a

discharge ofmy student loans.

9. In addition, l would like add the following:

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 25 of 69

I declare under penalty of perjury that the foregoing is true and conect.

Dated: November l , 2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 26 of 69

DECLARATION OF

 

  

l, ereby declare and affirm the t`o|lowing:

l. l am over twenty-one (Zl] years of age and otherwise competent to

testify as to thc matters set forth herein l have personal knowledge of the matters
‘ __ _ `S'{r‘fl»r¢`,
set forth herein. l 5 meet 1 n
- wool _
"f"'w' [?{_,…,\ 53 ith vi !Ci

` l l .
2. l am a current student at f.?»"" '3 m

 

. (School, city, state)

3. lam enrolled inthc E~.F€'€+r"r-&¢_§H_s_ _,£:“r'/€C %r\cct l
T'e’ C levi .C ¢Ci r1
program

rr

4. Upon graduation, l will receive a / C i-
D'; lid /(’)1'1»1 (`¢_
5. l expect to complete my program in __."S Ct'n ct Ct 1214
m;__’,2 0 / Ci
6. To pay for my education, I have utilized chcral student aid programs__
including_/O(i r1 § O. r1 cl 53 rex n "f' <l
7. @/‘dave not (Circle one that applics) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 27 of 69

ii. l|` given the choice, l would choose to complete my degree at
Brightwood Career lnstitute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, l would like add the following:

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wm ij E/€C irir"cti_ Bj'_fdgg;/J D_.-;')/r;=f?'!ci 60
f 661/rid SJL£J\`F 'f' C¢’,l ,-¢;=‘__-€'1"” ft 5 at .'l/c"ru r-r'~.~€.\fj han
Q.t__ /':/é?(?i"'r'r c l n r'i drum % r'éi C. J"Of"
10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 28 of 69

DECLARAT|ON OF

 

  
 

I herebyr declare and affirm the foilowing:
U€")
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. 1 am a current student at &UJQ_M&Q(!L in .l£i €lPl/l£l't_
ga . (School, city, state)

3. lamenrolledinthc M€ dl(:dl A_§_)Si§‘l'df\-l'

program

4. Upon graduation, l will receive a file ll§m§§

o

5. I expect to complete my program in l lal"C__%___

 

 

 

6. 'I`o pay for my education, I have utilized Federal student aid programs,
including G'/'V_Q,/i“l$ and .S"l'UCp‘€fT'l_ l@Al/) 5
7. l have/have not (Circle one that applies) received student aid in excess

o[` tuition and fees to oI`I`set my living expenses, including:

l\\l\_

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 29 of 69

8. ll` given the choice, l would choose to complete my degree at
Brightwood Career lnstitute, as opposed to stopping my education and receiving a
discharge of my student loans.

addition, Would like add the following:

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lytal/vatx>cl Hl£lc/' t triangle il 80 an-/ 010/ta
il MGJU be d udalle etc VVW illv\€_

10. No one has promised or offered me anything in exchange for providing

 

 

this statement, I give it freely and voluntarily.

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 30 of 69

l declare under penalty of perjury that the l`oregoing is true and correct.

Dated:Octobcr 25 ,2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 31 of 69

 

 

I, , hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

I am a current student at AAA in W/O€/l/-;)é ,

. (School, city, state)

 

2.
/‘l

3. lamenrelledinth é:zf £”ZA€ MM?%A),S/ ,”%VM

pro gram.

 

4. Upon graduation, l will receive a /4% _;w Ci:rf
WTM /W¢We@ww

S. l expect to complete my program in _§/?

 

 

6. To pay for my education, I have utilized Federal student aid programs,
including 61 E¢M'/ x _élf ?// 51 ¢éi)¢t'/
7. I.have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 32 of 69

8. If given the choice, I would choose to complete my degree at~Virginia § 141/l
College, as opposed to stopping my education and receiving a discharge of my
student loans.

9, In addition, I would like add the following:

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air my draw mr am owed 75-%/&)/1) 2a carver away

10. No one has promised or offered me anything in exchange for providing

this statement, i give it freely and voluntarily

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4a are WM@J.

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 33 of 69

I declare under penalty of perjury that the foregoing is true and correct

Dated:.@ctebe=-=`. ,2018
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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 34 of 69

 

DECLARATION OF
I, _____, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at GLMMMin f§/i@£j,'i ,
jZ . (schooi, city, aaa

3. lam enrolled in the goff QF@/@r,`ans’ /WaoapeM:/)i

program.

4. Upon graduation, I will receive a /4/4

jet/ea
j

5. I expect to complete my program in lz€c;'e/F) bB/'.
Q§/ 7

6. To pay for my education, I have utilized F ederal student aid programs,

including %/A
7. l hav’(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 35 of 69

8. If given the choice, l would choose to complete my degree at V»i-r-ginia- GM
GeHe§§ as opposed to stopping my education and receiving a discharge of my
student loans.

9. In addition, I would like add the following:

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and wz`ll be Mv w.'t-h M(v /,`afe!/` faf#i irc l per fe
ware fha fdaa/.‘qr.
iO. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 36 of 69

I declare under penalty of perjury that the foregoing is true and correct

Dated: Oeiola=ea== , 2018
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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 37 of 69

 

DECLARATION OF
I, _`, hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein_

 

2. I am a current student at _é-Q¢F monetarth in _/.@A/ML,

quantum
AE\'¢O|\-’A .-(School, city, state)
3. I am enrolled in the /f/l 5 *'/v drth seem-nsps map,¢eM/?'

 

program.
4. Upon graduation, I will receive a )4%' //LJ mg

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5. I expect to complete my program in DE¢ M

 

6. To pay for my education, I have utilized Federal student aid programs,

including yxtr?oua-t E£//-¢‘B}A/ rma,t}

'7. I have,€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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m §a¢.F
8. If given the choice, I would choose to complete my degree at 3o‘i'r,<_;i'n'ia-

AMD€M!' or dunbar
-Gol-lege», as opposed to stopping my education and receiving a discharge of my
student loans.
9. In addition, l would like add the following:
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/fvom'és'_ dosage ¢..)/ »v¢ ser/au re compute emma smoox.r aea/aac
Mf Fé//€T'M¢ur' ar uér¢BA-.o‘ Af/A-f€$ ;/Mrl¢um'_ HM-Brz rrmm/ ach/§
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MW££ )W'S rs mr /\=> mounon figs/ef- FM”M§ /eea.e¢»e£> 1b rane../)OW H*?¢€
pa 5¢!*30""‘ '
10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

[Reminder of page intentionally left blank]

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 39 of 69

l declare under penalty of perjury that the foregoing is true and correct

Dated: Gctober , 2018
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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 40 of 69

 

DECLARATION OF
I, __, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at golf gm!w!£ in idw&mx ,

fil . (School, city, state)

 

3. I am enrolled in the 610 if eff/a f/'/h$ /Moia/<gan¢a !L
program.

4. Upon graduation, I will receive an A/l- ,A 670/f

 

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5. I expect to complete my program in bg C, aaa ¢¢~* of
/"-O /"7
6. To pay for my education, I have utilized Federal student aid programs,

including twa g- eo ‘Z/// ar a il
7. I.have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 41 of 69

8. If given the choice, I would choose to complete my degree at -Virgirria'G_/l/l
Gel»lege, as opposed to stopping my education and receiving a discharge of my
student loans.

9. In addition, l would like add the following:

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il“: l-l\r/Mul'¢c- baniF'/+-; zile has mfA-:f/¢d W’C¢

10. No one has promised or offered me anything m exchange for providing

this statement, l give it freely and voluntarily

[Reminder of page intentionally left blank]

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 42 of 69

l declare under penalty of perjury that the foregoing is true and correct;

Dated: october l"*, 2013

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 43 of 69

 

hereby declare and affn"m the following:

 

l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein I have personal knowledge of the matters

set forth herein

2. I am a current student at hf@ttf:ucu<g. in F{‘.l,l§l¢tc.§zl
?{,L'Wil ¢"Q,{g`l a(School, city, state)
` 3. lam enrolled in the Ni<edl!r€n,l 4§€»4)4‘°""&
program

4. Upon graduation, I will receive a ®i§>_'£g§
5. I expect to complete my program in iii fail 96 lol

6. To pay for my education, l have utilized Federal student aid programs,

including Sju£an;(i jean , ffl_l"$ /fl
7. I have.‘Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

 

 

 

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 44 of 69

8. If given the choice, I would choose to complete my diploma at
Brightweod Career Institute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, would like add the following:

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Le»ééw{sa kw BM£O( AMDJM afb jl,é)w( tva/t CM"B<’/)”

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 45 of 69

l declare under penalty of perjury that the foregoing is true and correct

Dated: November 3 , 2018

 

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Case 5:18-cv-OO388-TES Document 28-5 Filed 11/14/18 Page 46 of 69

DECLARATION OF
I, - , hereby declare and affirm the fellowing:

l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein

2. l am a current student at S§*ti%v\lwom)l in §`;i §§jj_ mfg
§de . (School, city, state)

3. I am enrolled in the `K`(\Q t`i:_'i& C,\u\ Q“-\Lo C->'\"'s \O<\i'\s\

program .

4. Upon graduation, l will receive a <>'\D\OV\-'\_Qi
j

 

5. I expect to complete my program in §‘_l §§

 

6. To pay for my education, l have utilized Federai student aid pi'ograms,

including i:l\ § 63 i><
F_,,_..._
7. I hav@ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenscs, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 47 of 69

8. If given the choice, l would choose to complete my diploma at
0)`( §MB§\)C)UB o College, as opposed to Stopping my education and receiving a
discharge of my student loans.
9. In addition, II would like add the following
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\.i\¢§-» §§ \_'\-1\@1‘. '\“~.s §“¢*'T~m Ci“i\t\f\¢z_ '%rmm\
OX\~Q"C“ C.c)\.\\r\\mq` QF-\- § Qr_€_}\~ §\f\§l\r\£.€ ina

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily.

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 48 of 69

l declare under penalty of perjury that the foregoing is true and correct.

Dated: November x , 2018

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 49 of 69

DECLgRATION OF`

I, `, hereby declare and affirm the following:

l. l am over twenty-one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein I have personal knowledge of the matters

set forth herein.

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'_- \_ . ~ r 1 ha
2. l am a current student at Y:n!'-‘\_'=*-‘-‘~»\»'"‘f‘-*t..» in ?\.>r>r%lo.n tng

_L (School, city, state)
3. lam enrolled in the -i`/l gains 1 .'\ 331 mg Wq

program

4. Upon graduation, I will receive a jj"'§\@w@\

 

5. I expect to complete my program in ._f)'l ll§l?,otf\

 

6. To pay for my education, 1 havec__ntiliz,ed Federal student aid programs,

including ’~"~p’?\_»\a AL+¢»...»./:._. 100 »\/\

7. I ltave/'(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 50 of 69

8. If given the choice, l would choose to complete my diploma at
Brightwood Career Institute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. in addition, I would like add the i"ollowing:

\";'lli-"j'., `~,»'- "'»g-‘.;J C')t',',')¢=‘\,_ §§ L\/-_Qb‘ ‘ `=/`- ;'-.`F',` "'-`)-.’-’ .,»_~=.. tit ('l 'i¢'_} ’-.)‘ it é,_ \.r\.-\JU\ (‘,1 q ¢_» g '\{
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I‘ ‘/`_ .`J_J.`_ g (_:l\=l_ n ,m \ /\_ \;;`_. __ nn \- ,',,{-'_'1_4/\./:`_ ;7,__‘___“__»\__ ”I___/*;.Ar_ ’.;M n \`/..`¢1.__ l;_E \§~_ 5
4 ,
O."r;“,- _"}.A ¥_» "’r» f~`\‘-‘. lr-"{_P. -f" ‘-¢\ 4"‘*,,".`.. 111 63 vi "' C` EZ.. O\h»/,_d_ 1

 

g :,_~{s-,~.:~ \)\ ¢-?_.,'-)-"?1:_"?‘-..` Q_.l`t:»- br 0 \L.e a o X\,t'\,?'s '\.~`_~.c,:\,t_»_i, a\

 

goff Cb§t\»avv ‘§f€-n‘§>ie’, leo lav,'-.*.;L l\A_@'--( f-‘_»\_"{,_¢?~;-*'“»»

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 51 of 69

l declare under penalty of perjury that the foregoing is true and correctl

lNAME]

Dated: Novernber - 0 'l_-'" , 2018

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 52 of 69

 

DECLARATION OF
I, ___, hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. 1 am a current student at tyan in Pg`fshmg;]q,
it nml\g,§gig, (School, city, state)

3. lam enrolledinlhe M¢atc_ai ¢g§\;»¢.mr`

 

 

 

program
4. Upon graduation, l will receive a ':l)t‘pl.ow\-e\
5. l expect to complete my program in ff` f O/ ?
6. To pay for my education, I have utilized Federal student aid programs,

including __&lj\_.~._ci`i.g’f_ l OG.v‘\ ;p€“ q'm/l/\,l/
7. l have/.rcle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 53 of 69

8. lf given the choice, I would choose to complete my diploma at
Brightwood Career lnstitute, as opposed to stopping my education and receiving a

discharge of my student loans.

. 9. In addition, I would like add the following:

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date cort clher. ulth admit is weren

ann wl ana ami Sludeo+ nova/c

lO. No one has promised or offered me anything in exchange for providing

 

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 54 of 69

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November a- , 2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 55 of 69

  

, hereby declare and affirm the following:

1. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein.

2. l am a current student at'%§>g§v"\’ty¢§;® in \)3%_‘;.§) §§§L'§\“j

\)CL\\" 45 ';\§.l§ iy\i(i (School, city, state)
_)
3. l am enrolled in the l\i\"\“(l\(©\\ ,B\":Q\"§“YU\ ‘r\“

 

 

program
4. Upon graduation, I will receive a
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5. I expect to complete my program in l\)\U\/§ O(V
to\<-l

 

6. To pay for my education, I have utilized Federal student aid programs,
including fine o(j\\ Qt}§t‘.\\ vt
7. l have/@ve`ho`t_-(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 56 of 69

8. If given the choice, l would choose to complete my diploma at
Brightwood Career Institute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, I would like add the following:

 

 

 

 

 

10 . No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 57 of 69

l declare under penalty of perjury that the foregoing is true and correct.

Dated:November l ,2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 58 of 69

DECLARATION OF -
l, - , hereby declare and affirm the following:

l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth l'iereiri.

2. I am a current student at _E_BHW__ in fagg m§&h,
§ & . (School, city, state)

 

 

3. lamenrolledinthe ic. \

program
4. Upon graduation, l will receive a D!m___
`\BtGQ\ama
5. I expect to complete my program in MB:| o Q
?sc;\Cl
6. 'l"o pay for my education, I have utilized Federal student aid programs

 

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including jjgg f%c_i il __ %\'BD§§ § \QBDS,
7. l havef‘ircle one that applies) received student aid in excess

of tuition and fees to offset my living cxpenses, l. including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 59 of 69

S. If given the choice, I would choose to complete my diploma at
Brightwoocl Career Institute, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the ' following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily.

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 60 of 69

l declare under penalty of perjury that the foregoing is true and correct.

Dated: Novernber l , 2018

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 61 of 69

DECLARAT|ON OF_
l, __, hereby declare and affirm the following:

l. l am over twenty~one (21) years of age and otherwise competent to

 

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

 

 

2. l am a current student at"t':~_. riggs t_t.t in h;'\*\*r;\;'»¢~.;l\\ ,
\"1 -. . (School, city, state)
3. lam enrolled in the -"\\_'»-"\-\tt]l ¢`~t ;\,x.__t.\:l
program.
4. Upon graduation, l will receive a .t.i\`\,\[_\,\wt

 

 

5. I expect to complete my program in lt`§gx_i; ’Jt‘.t“`j

 

 

6. To pay for my education, I have utilized Federal student aid programs,
including L Cl-‘ \`~ 1-"
7. l have?`§;e:i}`_ot‘(€ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 62 of 69

8. If given the choice, I would choose to complete my diploma at
Brightwood Career lnstitute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. ln addition, l would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 63 of 69

l declare under penalty of perjury that the foregoing is true and correct.

Dated:November \ ,2018

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 64 of 69

l, _, hereby declare and affirm the foliowlng:

l. l am over twenty-one (?.l) years of age and otherwise competent to

 

testify as to the matters set forth herein. l have personal knowledge of the matters
set forth herein_
2. l am a current student atll

in § §§ ga ah
§ l,>l . (School, City, State)
3. I am enrolled in the MA\\@\\ i§§`:`)z>\i)ifc\`(\¢\'

pI‘Og.,I`EUH.

4. Upon graduation, l will receive a fillinle [;
5. l expect to complete my program in Ul[{j§ lgllg

 

 

 

 

6. To pay for my education, I have utilized Federal student aid programs,
including //l/rl/] 3
`_/ .
7. I @’have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, _including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 65 of 69

8. lf given the choice, I would choose to complete my diploma at
Brightwood Career lnstitute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, l would like add the follo\ving:

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lO. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 66 of 69

l declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 67 of 69

  

, hereby declare and affirm the following:
l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at B§' igi\'l'lil(l(ld irl lyl‘l'l§i]Uff§i\ ,

/)l; § . (School, city, state)

3. lam enrolled in the l\/l€;{l,' ("_(`,\l ASS)'\SC\(\'l'

program

4. Upon graduation, l will receive a di@l(}mc\
t

in l"lerl.'r-rtl /l§%.;;lm_g

5. l expect to complete my program in l\fl( .§§'{fb
§l(ilq

6. To pay for my education, l have utilized Federal student aid programs,

including lGGDS C\DCi '/l)i l"lS buf&ll ?mmi%&
7. l.have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 68 of 69

8. lf given the choice, l would choose to complete my diploma at
Brightwood Career Institute, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, l would like add the following:
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613 why il home Ccmtcred ic bigger

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10. No one has promised or offered me anything in exchange for providing

 
 
   

 

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-5 Filed 11/14/18 Page 69 of 69

l declare under penalty of perjury that the foregoing is true and correct.

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Dated: November l , 2013

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